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                         UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS

                                                    CIVIL ACTION NO.:
===============================
                                         :
SANDY BERAM,                             :
                                         :
              Plaintiff,                 :
                                         :
        v.                               :
                                         :
CEACO, INC., a Massachusetts             :
domestic for-profit corporation, d/b/a   :
Brainwright, as a division, and as       :
successor-in-interest to Ceaco Co, a     :
Massachusetts Business Trust, and as     :
successor-in-interest to Ceaco, LLC, a   :
Massachusetts limited liability company, :
and as successor-in-interest to Ceaco,   :
Inc. a/k/a Ceaco Gamewright, Inc.,       :
A Massachusetts domestic for-            :
profit corporation,                      :
CAROL J. GLAZER, and                     :
CYNTHIA A. BASQUE,                       :
                                         :
              Defendants.                :
                                         :
===============================

              PLAINTIFF'S COMPLAINT AND DEMAND FOR JURY TRIAL

                                     I. INTRODUCTION

       1.       The Plaintiff, Sandy Beram (hereinafter the “Plaintiff” or “Mrs. Beram”),

respectfully submits this Complaint and Demand for Jury Trial (hereinafter the “Complaint”).

The Plaintiff’s allegations are asserted against the Defendants, as follows: a) Ceaco, Inc., a

Massachusetts domestic for-profit corporation organized on or about December 22, 2011 and

doing-business-as (hereinafter “d/b/a”) “Brainwright,” as a division of the Defendant, and as

successor-in-interest to Ceaco Co, a Massachusetts Business Trust, organized by a Declaration of




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Trust on or about May 4, 2000, and as successor-in-interest to Ceaco, LLC, a Massachusetts

limited liability company, organized on or about September 16, 2004, and as successor-in-

interest to Ceaco, Inc. a/k/a Ceaco Gamewright, Inc., a Massachusetts domestic for-profit

corporation organized on or about May 13, 1987 (collectively hereinafter as "Ceaco" or the

“Defendant”), b) Carol J. Glazer (hereinafter "Glazer"), and c) Cynthia A. Basque (hereinafter

“Basque”) (collectively hereinafter the “Defendants”), for damages, accounting, equitable and

declaratory relief resulting from the Defendants' breaches, actions, omissions, policies,

procedures, practices, and/or courses of conduct, such being violations of:

       a)       copyright infringement, as violations of the Copyright Act of 1976, as amended,

                17 U.S.C. §§ 101, et seq., as amended;

       b)       trademark infringement and unfair competition, as violations of the Lanham

                (Trademark) Act, as amended, 15 U.S.C. §§ 1125, et seq., as amended;

       c)       breach of contract;

       d)       breach of the covenant of good faith and fair dealing;

       e)       breach of oral contract / promissory estoppel / detrimental reliance;

       f)       unjust enrichment;

       g)       conversion;

       h)       misappropriation;

       i)       fraud and deceit;

       j)       negligent misrepresentation;

       k)       fraudulent transfer / fraudulent conveyance, under the Uniform Fraudulent

                Transfer Act, as amended, M.G.L. c.109A, §§ 5, et seq., as amended;




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        l)       unfair and deceptive trade practices, and unfair competition, as violations of the

                 Massachusetts Consumer Protection Act, as amended, M.G.L. c. 93A, §§ 2 & 11,

                 as amended;

        m)       civil conspiracy; and/or

        n)       accounting.

        2.       The Plaintiff further alleges that, as a result and as caused by the Defendants'

misappropriation, conversion, conspiracy, fraudulent concealment, and breaches, actions,

omissions, policies, procedures, practices, and/or courses of conduct, the Plaintiff has suffered

irreparable harm, requiring equitable and declaratory relief, together with damages of not less

than One Million ($1,000,000.00) Dollars (U.S.), plus punitive damages of not less than Three

Million ($3,000,000.00) Dollars (U.S.), together with late fees, accrued interest, costs and

reasonable attorneys’ fees.

        3.       The Plaintiff respectfully requests that her action proceed to a trial by jury, that a

judgment be entered on all Counts against the Defendants, jointly and severally, and that, in

accordance with the underlying contract, the Defendants be ordered to provide an accounting

consistent with “generally accepted accounting principles,” or “GAAP,” by a nationally

recognized “Big Four” public accounting firm 1 at the Defendants’ sole cost and expense.

Furthermore, the Plaintiff respectfully requests that she be awarded her unpaid royalties,

compensatory damages and losses, costs, interest, multiple and/or punitive damages, reasonable

attorneys’ fees, and any such other relief as this Honorable Court deems just and appropriate.




1
 As referenced herein and as generally recognized in industry, the “Big Four” public accounting firms are Deloitte
LLP, PwC LLP a/k/a “PricewaterhouseCoopers,” EY LLP a/k/a “Ernst & Young,” and KPMG LLP.


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                                          II. PARTIES

       4.       The Plaintiff, Sandy Beram, is an adult and a resident of Yonkers, in the State of

New York. The Plaintiff is an author and an inventor of puzzles, puzzle products and other

games, and entered into a contract with Defendants Ceaco and Glazer.

       5.       Upon information and belief, the Defendant, Ceaco, Inc. (ID Number 001067794)

(hereinafter “Ceaco, Inc. No. 2”), is a Massachusetts domestic for-profit corporation and was

organized on or about December 22, 2011. With a division known as “Brainwright,” Defendant

Ceaco, Inc. No. 2 has a principal place of business located at 70 Bridge Street, Suite 200,

Newton, Middlesex County, Massachusetts 02458, and is, and/or was, at all relevant times, doing

business in the State of New York. By a merger on or about December 31, 2011 and upon

information and belief, the Defendant is the successor-in-interest to Ceaco Co (ID Number

043515831) (hereinafter “Ceaco Co”), a Massachusetts Business Trust, organized on or about

May 4, 2000 by a Declaration of Trust. Upon information and belief, the Defendant is also the

successor-in-interest to Ceaco, Inc. a/k/a Ceaco Gamewright, Inc. (ID Number 042964849)

(hereinafter “Ceaco, Inc. No. 1”), a Massachusetts domestic for-profit corporation organized on

or about May 13, 1987, which merged into Ceaco Co on or about September 16, 2004. Upon

information and belief, the Defendant is also the successor-in-interest to Ceaco, LLC (ID

Number 201625167) (hereinafter “Ceaco LLC”), a Massachusetts limited liability company

organized on or about September 16, 2004. Upon information and belief, Defendant Ceaco is,

and/or was, doing business, at all relevant times, in the Commonwealth of Massachusetts.

       6.       Upon information and belief, the Defendant, Carol J. Glazer, is an adult and

resides at 776 Boylston Street, Unit No. E11-C, Boston, Suffolk County, Massachusetts 02199.

Upon information and belief, Glazer is, and/or was, at all relevant times, a) President, Director,




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Treasurer, Secretary, and principal of Defendant Ceaco, Inc. No. 2; b) Trustee and beneficiary of

Ceaco Co; c) Manager, authorized signatory, and member of Ceaco LLC; and d) President,

Director, Treasurer, and principal of Defendant Ceaco, Inc. No. 1.                Furthermore, upon

information and belief, Defendant Glazer is, and/or was, the Trustee and beneficiary of the Carol

J. Glazer Revocable Trust of 1998 (hereinafter the “Glazer Trust”). Upon information and belief,

Defendant Glazer is, and/or was, doing business, at all relevant times, in the Commonwealth of

Massachusetts.

       7.       Upon information and belief, the Defendant, Cynthia A. Basque, is an adult and

resides at 65 Edgewater Drive, Waltham, Middlesex County, Massachusetts 02453. Upon

information and belief, Basque is, and/or was, at all relevant times, a) the Chief Financial Officer

(hereinafter “CFO”) of Defendant Ceaco, Inc. No. 2; and b) authorized signatory of Ceaco LLC.

Furthermore, upon information and belief, Defendant Basque is, and/or was, at all relevant times,

the “attorney in fact” of the Glazer Trust. Upon information and belief, Defendant Basque is,

and/or was, doing business, at all relevant times, in the Commonwealth of Massachusetts, the

State of New York, the United States and internationally.

                        III. JURISDICTION, VENUE AND TOLLING

       8.       The Plaintiff asserts that this Honorable Court has original jurisdiction over this

action under 28 U.S.C. § 1331 in that the controversy arises under laws of the United States.

       9.       The Plaintiff also asserts that this Court has subject matter jurisdiction in that this

is an action arising under the Copyright Act, 17 U.S.C. § 101 et seq., as amended, with

jurisdiction being conferred in accordance with 28 U.S.C. § 1338(a), and under the Lanham Act,

15 U.S.C. §§ 1051–1127, as amended, with jurisdiction being conferred in accordance with 15

U.S.C. § 1121 and 28 U.S.C. § 1338(a).




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       10.      Pursuant to 28 U.S.C. § 1332, the Plaintiff further asserts that this Court has also

jurisdiction over the instant action in that there exists complete diversity between and among the

Parties and the amount in controversy exceeds $75,000.00.

       11.      Pursuant to 28 U.S.C. § 1367, this Court has ancillary, pendent, and supplemental

jurisdiction over all other claims that are so related to claims in the action within such original

jurisdiction that they form part of the same case or controversy under federal law.

       12.      The Plaintiff further contends that, pursuant to 28 U.S.C. § 1391(b), venue is

proper in the District of Massachusetts in that such District is where a substantial part of the

events or omissions giving rise to the claim occurred, where a substantial part of property that is

the subject of the action is situated, and is the District in which the Defendants reside, are duly

organized and/or are citizens, and/or is, and/or was, the location of their principal place of

business.

       13.      For each of the Counts, as alleged herein, the Plaintiff contends that she is within

the applicable statute of limitations in that the Plaintiff did not know, nor could have known, of

this cause of action prior to the immediate time preceding the filing herein. The Defendants have

fraudulently concealed, have been fraudulently concealing, and have continued to fraudulently

conceal, their acts, practices, omissions and courses of conduct, including but not limited to all

matters relating to the Puzzle Creations, the Plaintiff and the business activities, operations and

finances of Defendant Ceaco, and their malfeasance and nonfeasance related thereto. As a result

thereof, any and all applicable statutes of limitations have been tolled pursuant to M.G.L., c. 260,

§ 12, as amended.




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                               IV. FACTUAL BACKGROUND

       14.     The Plaintiff, Sandy Beram, is a developer and inventor of various lines of highly

successful puzzles and puzzle products which, for decades, have sold throughout the United

States and abroad. For years, the Plaintiff has been recognized in the toy and puzzle industry for

her puzzles, puzzle products and games, which are noted for innovation and overall quality.

       15.     In or about 1990’s, Mrs. Beram introduced her puzzle known as “Puzzlestix” or

“Puzzle Stix” (collectively hereinafter “Puzzlestix”), for entry into the United States toy and

puzzle market. Puzzlestix is a unique puzzle game, with facets, features and elements that are,

and were, an important contributing factor to the enjoyment experienced by any player. The

puzzle pieces interface with other elements of the game to provide a unique and proprietary

player experience. The Plaintiff researched, designed and implemented this innovative puzzle

design through the great personal time and effort.

       16.     In developing Puzzlestix, the Plaintiff sought to overcome facets and interface

challenges unique to puzzle games. Specifically, Mrs. Beram set out to create a compelling and

satisfying puzzle game experience through the design and facets of her puzzle products for the

customers of her licensees.

       17.     Over the years, Defendants Ceaco and Glazer reviewed and considered numerous

games and “puzzle concepts” of the Plaintiff, including but not limited to: a) Refrigerator

Magnet Puzzle; b) Tino Dinos Spy Glass Puzzle; c) Puzzle Add-ons; d) Shape-It-Up 1-2-3; e)

Size-It-Up 1-2-3; f) Sketch-Along; g) Sniff-Along; h) Travel Puzzle Tiles; i) 3-D View-Along; j)

Touch-Along; k) Glow-Along; l) Match-Along Puzzle-By-Number; m) Letter Hunt Puzzle; n)

Day and Night Puzzle with Tray; o) “Most Wanted” Card Game; p) Variation: Sherlock

Hemlock’s Missing Persons; q) “Come To Order” Card Game; r) Magic Music Jigsaw Puzzle; s)




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Famous Faces Jigsaw Puzzle; t) Funhouse Jigsaw Puzzle; u) Right on Target Jigsaw Puzzle; v)

Word-Up Jigsaw Puzzle; w) Connect-A-Score Jigsaw Puzzle; x) Brain Teaser Jigsaw Puzzle; y)

Double-Edged Puzzle; z) Rearrangements; aa) Kaleidovisions; bb) Magic Mirror; cc) Tangram

Puzzle; dd) Tangram Tiles; ee) Just-Right Jigsaws; ff) Reflections; gg) Windows on the World;

hh) Bottoms-Up; ii) Secret Door Puzzle; jj) Mad Scramble; kk) Hit or Miss; ll) Fiddle with

Riddles; mm) Clue Me In; nn) Looks-Alike; oo) Sounds-Alike; pp) Moves-Alike; qq) Scout and

Shout; rr) Rhyme-Time; ss) Opposites Attract; tt) Most Wanted; uu) King of the Sea; vv) Come

to Order; and ww) Search for Super Stuff. The Plaintiff’s games, puzzles and puzzle products

were, and have been, extraordinarily popular and which popularity has been due, in part, to the

phenomenal and innovative quality of the Mrs. Beram’s creativity. The enormous success of the

Plaintiff’s puzzles and puzzle products represented, and continue to represent, valuable goodwill

which, under the Contract, is owned by the Plaintiff.

       18.     In or about November 1993, Defendants Ceaco and Glazer and Mrs. Beram

entered into a contract, which thereafter included a series of subsequent amendments, for “puzzle

concepts and other items” (hereinafter the “Contract”).       A copy of certain portions of the

Contract, with certain Schedules and/or amendments, are attached, restated and incorporated by

reference herein as Exhibit A. Under such Contract, the Plaintiff granted Defendant Ceaco and

Glazer a license “to manufacture and sell” the puzzles and puzzle products, “created in any

medium and sold for any use,” in “any manner,” on a worldwide basis. Pursuant to the Contract,

“all copyright, patent, trademark” rights, in the “manufacture, sale or use of any [Product],”

remained as “sole and exclusive property” of the Plaintiff.

       19.     Pursuant to the Contract, Defendants Ceaco and Glazer had a duty and obligation

“to secure in the name of Sandy Beram” and on her behalf, “all copyright, patent, trademark …




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or the like, applications and registrations, to be used in the manufacture, sale or use of any

[Product], and the same shall be Sandy Beram’s sole and exclusive property.”

       20.    As manufactured, marketed, distributed and sold by Defendants Ceaco and Glazer,

the Plaintiff’s puzzles and puzzle products were required to have a “conspicuous legend”

(hereinafter the “Legend”), which detailed that such puzzle and/or puzzle product was “A Sandy

Beram Creation,” “in form, style and placement reasonably satisfactory to” Mrs. Beram. The

Legend was required to appear on the “front or side of the packaging for each item,” and that “a

comparable legend” was required to “appear on or in connection with each subsidiary rights or

derivative products.”

       21.     The Contract was subsequently amended, with Schedules, and included other

innovation and novel puzzles, puzzle products and other creations of the Plaintiff (collectively,

with Puzzlestix, hereinafter the “Products,” the “Puzzle Creations,” or the “Creations”),

including but not limited to the following:

               a)       AlphaSearch;
               b)       Fish Stix;
               c)       Fuzzy Grip;
               d)       Fuzzy Grip Feltboard Assortment;
               e)       Made Easy;
               f)       Buzzlewicks Made Easy;
               g)       Keith Haring Made Easy;
               h)       Mystery Match;
               i)       Puppet Puzzle;
               j)       PuzzleStix;
               k)       Thomas Kinkade Stix;
               l)       Search For Small Stuff;
               m)       100 PC Puzzles Search for Small Stuff Assortment; and
               n)       Wordamajig.


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       22.     Under the Contract for each Puzzle Creation, the Plaintiff granted Defendants

Ceaco and Glazer a license “to manufacture and sell” the Products, “created in any medium and

sold for any use,” in “any manner,” on a worldwide basis. The Defendants had a duty and

obligation “to secure,” in the Plaintiff’s name, “all copyright, patent, trademark … or the like,

applications and registrations, to be used in the manufacture, sale or use of any” such Creation.

All intellectual property rights, including copyrights and trademarks, remained as “Sandy

Beram’s sole and exclusive property.” Defendants Ceaco and Glazer were similarly required to

place the Legend on the front or side of each package for each Creation, which also was to

“appear on or in connection with each subsidiary rights or derivative products.”

       23.     Pursuant to Section 3 and together with each respective Schedule I thereto, the

Contract provided for minimum annual royalties (hereinafter the “Minimum Royalty Payments,”

the “Royalty Payments,” or the “Payments”) for each of the Puzzle Creations, which totaled tens

of thousands of dollars annually

       24.     Pursuant to Section 3(a) of the Contract, Defendants Ceaco and Glazer agreed to

pay the Minimum Royalty Payments to Mrs. Beram “within thirty days following the end of each

calendar quarter, such quarters ending March 31, June 30, September 30 and December 31.”

       25.     Pursuant to Section 3(c) of the Contract, Defendants Ceaco and Glazer agreed that

“interest … [would] accrue on all past due, and underpayment of Royalty Payments and other

amounts payable … from their respective due dates until paid at the ‘Default Rate’ and shall be

payable upon demand.”

       26.     Pursuant to Section 3(c) of the Contract, Defendants Ceaco and Glazer agreed that

“[a]s used in … [the Contract], the term Default Rate [was to] … mean [the interest rate] on any

date of determination [to be] the lesser of (i) the sum of (x) 5% plus (y) the prime rate (or




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comparable rate) announced, from time to time, by Citibank, N.A., and (ii) the highest rate

permitted by applicable law.”

       27.      Pursuant to Section 4 of the Contract, Defendants Ceaco and Glazer agreed to

keep “true, accurate and sufficiently detailed books of account and records in accordance with

generally accepted accounting principles, consistently applied, covering all transactions” relating

to the Puzzle Creations and the business dealings with the Plaintiff.

       28.      Pursuant to Section 5 of the Contract, Defendants Ceaco and Glazer agreed to

submit reports (hereinafter the “Reports”) and accountings, after the end of each calendar quarter

during the term of the Contract, which “indicat[ed] … the computation of Royalty Payments and

other payment for such quarter.” Such Reports were, and are, required to be “accompanied by a

statement” of the Defendants’ “responsible and authorized executive officer” which “certif[ied]

…” that such officer “reviewed” the Reports and “determined” them to be “true, correct and

complete as of such dates.”

       29.      Pursuant to Section 16 of the Contract, Defendants Ceaco and Glazer and Mrs.

Beram agreed that the Contract would “remain in full force and effect from the date … [of

execution] until the date one hundred years following the death of Sandy Beram, unless earlier

terminated….”

       30.      Pursuant to Section 16(a) of the Contract, Defendants Ceaco and Glazer agreed to

deliver a notice of “any breach of any term or provision of” the Contract by Mrs. Beram

(hereinafter a “Default Notice”), and Section 17(a) of the Contract provided for delivery of such

Notices to both parties.

       31.      Pursuant to Section 17(i) of the Contract, “in the event either party … institutes an

action or proceeding to enforce or interpret any rights … [under the Contract], the prevailing




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party may … be entitled … to reasonable attorneys’ fees and expenses,” which “include[ed] …

reasonable attorneys’ fees and expenses on appeal.”

       32.     Pursuant to Section 17(k) of the Contract, Defendants Ceaco and Glazer agreed

that the following Sections “shall survive the termination” of the Contract: “Section 1.c (costs

and expenses), Section 2 (advance), Section 3 (royalties and other payments), Section 4

(accounting and records), Sections 8 and 9 (representations) Section 10 and 11 (covenants),

Section 12 (indemnification) and Sections 14 through 17.”

       33.     Mrs. Beram is alive and living in Yonkers, in the State of New York.

       34.     In or about the 1990’s and the 2000’s, Defendants Ceaco and Glazer

manufactured, marketed, distributed and sold the Puzzle Creations, on a worldwide basis, and

placed the Legend, identifying Mrs. Beram as the inventor, on such Creations.

       35.     In or about the 1990’s and the 2000’s, Defendants Ceaco and Glazer made certain

royalty payments to the Plaintiff, but failed and refused to deliver Reports, statements and/or

certifications. The Defendants informed the Plaintiff that Glazer maintained “separate books and

records” for the calculation of royalties for Mrs. Beram. Upon information and belief, the

Defendants never maintained books and records, whether “separate” or otherwise in accordance

with generally accepted accounting principles, or GAAP.

       36.     In or about the 2000’s, the Defendants began to slowly reduce, and ultimately

eliminate, the royalty payments to the Plaintiff. Upon receiving inquiries from the Plaintiff,

Glazer merely informed Mrs. Beram that sales of the Creations were being ended, without

explanation.

       37.     Thereafter, the Defendants failed to make Minimum Royalty Payments to the

Plaintiff, in violation of the Contract. Defendants Ceaco and Glazer never delivered a Default




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Notice, or any notice of termination, pursuant to Sections 16(a) and 17(a) of the Contract, to Mrs.

Beram. The Contract was also never automatically terminated pursuant to Section 16(c) of the

Contract.

       38.     Upon information and belief, in or about the 2000’s, Defendant Basque became a

“responsible and authorized executive officer” and became employed by Defendants Ceaco and

Glazer as Chief Financial Officer, or CFO, of Ceaco.

       39.     As CFO of Ceaco and as a “responsible and authorized executive officer,”

Defendant Basque became obligated, and continues to be obligated, under the Contract to keep

“true, accurate and sufficiently detailed books of account and records in accordance with

generally accepted accounting principles,” or GAAP, “consistently applied, covering all

transactions” relating to the Contract, the Minimum Royalty Payments, and all matters related to

the Plaintiff’s Creations.

       40.     During the term of the Contract, Defendants Ceaco and Glazer, as a “responsible

and authorized executive officer,” were also obligated, and continue to be obligated, under the

Contract to keep “true, accurate and sufficiently detailed books of account and records in

accordance with generally accepted accounting principles,” or GAAP, “consistently applied,

covering all transactions” relating to the Contract, the Minimum Royalty Payments, and all

matters related to the Plaintiff’s Puzzle Creations.

       41.     As Ceaco CFO, Defendant Basque became a “responsible and authorized

executive officer” and became obligated, and continues to be obligated, pursuant to Section 5 of

the Contract, to submit the Reports to the Plaintiff.




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        42.     Defendants Ceaco and Glazer, as a “responsible and authorized executive

officer,” were also obligated, and continue to be obligated, pursuant to Section 5 and during the

term of the Contract, to submit the Reports to the Plaintiff.

        43.     Upon being engaged by the Defendants as CFO, Defendant Basque became a

“responsible and authorized executive officer” and became obligated, and continues to be

obligated, under the Contract to provide “the computation of Royalty Payments and other

payment[s]” with such Reports, as generated and delivered after the end of each calendar quarter,

to the Plaintiff.

        44.     During the term of the Contract, Defendants Ceaco and Glazer, as a “responsible

and authorized executive officer,” were also obligated, and continue to be obligated, under the

Contract to provide “the computation of Royalty Payments and other payment[s]” with such

Reports, as generated and delivered after the end of each calendar quarter, to the Plaintiff.

        45.     When Defendant Basque became CFO and a “responsible and authorized

executive officer,” she became obligated, and continues to be obligated, under the Contract to

provide a “statement,” which “accompanied” each such Report and which “certifie[d],” to the

Plaintiff, that Defendant Basque had “reviewed” such Reports and had “determined” the same to

be “true, correct and complete as of such dates.”

        46.     Defendants Ceaco and Glazer, as CEO and a “responsible and authorized

executive officer,” were also obligated, and continue to be obligated, under the Contract to

provide a “statement,” which “accompanied” each such Report and which “certifie[d],” to the

Plaintiff, that Defendant Glazer had “reviewed” such Reports and had “determined” the same to

be “true, correct and complete as of such dates.”




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       47.     Since in or about 1994 and thereafter, Defendants Ceaco, Glazer and/or Basque

have never submitted Reports, statements or certifications to Mrs. Beram with respect to any of

the Creations, as required by Section 5 of the Contract.

       48.     Since in or about 1994 and thereafter, Defendants Ceaco, Glazer and/or Basque

never paid total royalties, as due and owing, on sales of the Puzzle Creations, and/or failed to pay

Minimum Royalty Payments, together with late fees and/or accrued interest, to the Plaintiff, as

required by the Contract.

       49.     Upon information and belief, the Defendants have failed to maintain their books

and records in accordance with “generally accepted accounting principles,” or “GAAP,” during

the term of the Contract.

       50.     The Defendants have failed to properly account to the Plaintiff, and have

fraudulently concealed, the Defendants’ books and records and other information which reflects,

and has reflected, sales, royalties due and owing, Minimum Royalty Payments, late fees and/or

accrued interest due and owing, and other matters relating to the Puzzle Creations and the

Plaintiff, during the term of the Contract.

       51.     As of the date hereof, the Contract remains in full force and effect between and

among the Parties.

       52.     Upon information and belief, the Plaintiff contends that the Defendants have

organized, operated and/or utilized multiple entities, including not less than two (2) domestic

Massachusetts for-profit corporations, one (1) Massachusetts Business Trust, and one (1) limited

liability company, each identified as “Ceaco,” together with a “division” identified as

“Brainwright,” in order to fraudulently conceal and/or fraudulently transfer and/or convey

property, assets and/or liabilities between and among such entities and/or the Defendants.




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       53.     Upon information and belief, since at least between in or about 2011 and in or

about 2015, the Defendants, and others, have been manufacturing, marketing, distributing and/or

selling, and/or continuing to manufacture, market, distribute, and/or sell, “Puzzlestix” and/or

other Puzzle Creations throughout the Commonwealth of Massachusetts, the State of New York,

the United States, and internationally, in violation of the Contract.

       54.     Upon information and belief, since at least between in or about 2011 and in or

about 2015, the Defendants, and others, have been distributed and sold, and/or continue to

distribute and sell, “Puzzlestix” and/or other Puzzle Creations, through nationally recognized

retail chains and others, including but not limited to Barnes & Nobles, in the Commonwealth of

Massachusetts, the State of New York, the United States, and internationally, in violation of the

Contract.

       55.     Upon information and belief, since at least between in or about 2011 and in or

about 2015, the Defendants, and others, have placed a “legend” upon the packaging of

“Puzzlestix,” characterizing the “Concept” as being “by Manvel and Sarkis Simonyan,” in

violation of the Contract.

       56.     Upon information and belief, since at least between in or about 2011 and in or

about 2015, the Defendants and others have placed a “legend” that a “Patent [is] Pending” with

respect to “Puzzlestix,” in violation of the Contract.

       57.     Upon information and belief, since at least between in or about 2011 and in or

about 2015, the Defendants and others have engaged, and/or continue to engage, companies in

the People’s Republic of China for the manufacturing of “Puzzlestix” and/or other Puzzle

Creations of the Plaintiff, in violation of the Contract.




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       58.     Upon information and belief, the Defendants have been engaged, and/or continue

to be engaged, in the publication, manufacture, distribution, marketing, advertising and/or sale of

a wide variety of puzzles and puzzle products, which infringe upon the Plaintiff’s copyrights,

trademarks, intellectual property and/or other rights in the Puzzle Creations, in violation of the

Contract.

       59.     Upon information and belief, the Defendants have been actively manufacturing,

importing and distributing, and/or continue to be actively manufacturing, importing and

distributing, for sale in interstate commerce, duplicates and copies of “Puzzlestix “ and/or the

Puzzle Creations, in the Commonwealth of Massachusetts, the State of New York, the United

States and internationally, in violation of the Contract.

       60.     Upon information and belief, the Defendants have been marketing, promoting and

selling, and/or continue to be marketing, promoting and selling, duplicates and copies of

“Puzzlestix” and/or the Puzzle Creations, through interstate commerce, by means of the Internet,

retail outlets and/or through other distribution channels, in the Commonwealth of Massachusetts,

the State of New York, the United States and internationally, in violation of the Contract.

       61.     Upon information and belief, the Defendants have been manufacturing, selling

and distributing, and/or continue to be manufacturing, selling and distributing, duplicates and

copies of “Puzzlestix” and/or such Puzzle Creations, by falsely identifying and misrepresenting

the nature, origin, sponsorship and authorship of such puzzles and puzzle products, which rights

are exclusively owned by the Plaintiff, in violation of the Contract.

       62.     The Plaintiff has never authorized the Defendants to make derivative or

subsidiary works from, or otherwise use, her unique proprietary puzzles, puzzle products and/or

the Puzzle Creations, in violation of the Contract.




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        63.     The Plaintiff has never authorized the Defendants to falsely identify and/or

misrepresent that the “Concept” for the puzzles, puzzle products and/or the Puzzle Creations are

the work of “Manvel and Sarkis Simonyan,” and/or any alleged third-party inventors or creators,

as compared to emanating from the works, copyrights, trademarks, and/or intellectual property of

the Plaintiff, in violation of the Contract.

        64.     The Defendants’ unauthorized manufacture, marketing, sale, reproduction and

distribution of Puzzlestix and/or the Puzzle Creations are the unauthorized use of the Plaintiff’s

copyrights and is, and was, an infringement of her copyrights.

        65.     The Defendants’ unauthorized manufacture, sale, reproduction and distribution of

Puzzlestix and/or the Puzzle Creations are the unauthorized use of the Plaintiff’s trademarks and

is, and was, an infringement of her trademarks.

        66.     Upon information and belief, the Defendants’ infringing puzzles and puzzle

products are, and/or were, advertised, promoted and/or sold in interstate commerce, in the

Commonwealth of Massachusetts, the State of New York, the United States and internationally.

        67.     Upon information and belief, the Defendants’ infringing puzzles and puzzle

products are, and/or were, advertised, promoted and sold to the same consumers or purchasers,

and/or prospective customers or purchasers, as those customers and/or purchasers, past, present

or prospective, of the Plaintiff’s Puzzle Creations.

        68.     The Defendants’ conversion and misappropriation of the Plaintiff’s copyrights,

trademarks, proprietary rights and/or intellectual property rights, as described above, represents a

pattern and course of conduct seeking to trade upon the goodwill of the Plaintiff.

        69.     Upon information and belief, Defendants Ceaco and Glazer, and/or others,

knowingly and willfully duplicated and copied Puzzlestix and/or the Puzzle Creations in




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violation of the Plaintiff’s copyrights, trademarks, proprietary rights and/or intellectual property

rights.

          70.   Upon information and belief, Defendants Ceaco and Glazer, and/or others,

knowingly and willfully duplicated and copied Puzzlestix and the Puzzle Creations, in violation

of the Plaintiff’s copyrights, trademarks, proprietary rights and/or intellectual property rights.

          71.   Upon information and belief, the Defendants’ infringement of the Plaintiff’s

copyrights, trademarks, proprietary rights and/or intellectual property rights is, and was, likely to

cause confusion, or to cause mistake, or to deceive others as to the affiliation, connection and/or

association of the puzzles and puzzle products with the Plaintiff’s products, or as to the origin,

authorship, sponsorship or approval of such puzzles and puzzle products.

          72.   Upon information and belief, customers and purchasers of Puzzlestix and/or the

Puzzle Creations, past, present and/or prospective, are likely, and were likely, to believe that the

high-quality games, as manufactured, sold and/or distributed by the Defendants and others, are

sponsored, approved or otherwise legitimately connected with the Plaintiff.

          73.   The Defendants’ infringement of the Plaintiff’s copyrights, trademarks,

proprietary rights and/or intellectual property rights constitutes a false designation of origin in

violation of Section 43(a) of the Lanham Act and the trademark laws of the United States (15

U.S.C. § 1125(a)), as amended.

          74.   The Defendants’ infringement and illegal use, publication, distribution and/or sale

of the Plaintiff’s copyrights, trademarks, proprietary rights and/or intellectual property rights

constitute unfair and deceptive trade practices, in violation of M.G.L. c.93A, §§ 2 & 11, as

amended.




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       75.     The Defendants’ infringement and illegal use, publication, distribution and/or sale

of the Plaintiff’s copyrights, trademarks, proprietary rights and/or intellectual property rights

constitute acts of unfair competition, in violation of M.G.L. c.93A, §§ 2 & 11, as amended.

       76.     The Defendants’ aforesaid acts have caused, and are causing, irreparable damage

to the Plaintiff and will continue to irreparably damage Mrs. Beram, unless restrained by this

Court, rendering the Plaintiff without an adequate remedy at law.

       77.     Pursuant to the Contract, the Defendants must provide an accounting for,

consistent with “generally accepted accounting principles,” or “GAAP,” for royalty payments

and/or Minimum Royalty Payments, plus accrued interest and late fees, which are past due and

owing, for each of the Puzzle Creations.

       78.     Pursuant to the Contract, the Defendants have failed to pay, and refuse to pay,

royalties and/or Minimum Royalty Payments, plus accrued interest and late fees, which are due

and owing, for each of the Puzzle Creations, which royalties, late fees and accrued interest,

which total over One Million ($1,000,000.00) Dollars (U.S.).

       79.     Pursuant to the Contract, the Defendants must be enjoined and ordered to account,

and to render Reports, certified by a “responsible and authorized executive officer,” and to pay

future royalties, late fees and accrued interest to the Plaintiff, as anticipated to be due over the

remaining term of the Contract, which are expected to total over than Two Million

($2,000,000.00) Dollars (U.S.).

       80.     The Plaintiff contends that she is entitled to recover actual damages and profits in

an amount to be determined at trial (17 U.S.C § 504(b), as amended) or statutory damages (17

U.S.C. § 504(c), as amended), as well as her attorneys’ fees and costs of suit (17 U.S.C. § 505,

as amended), together with other federal statutes, and/or multiple, double or treble damages,




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together with reasonable attorneys' fees and costs, pursuant to Massachusetts Consumer

Protection Act, M.G.L. c.93A, §§ 2 & 11, as amended.

       81.     In sum, through their misappropriation, conversion, conspiracy, fraudulent

concealment, unfair and deceptive trade practices and unfair competition, and breaches, actions,

omissions, policies, procedures, practices, and/or courses of conduct, the Plaintiff has suffered

irreparable harm, requiring an accounting consistent with GAAP, and equitable and declaratory

relief, at the Defendants’ sole cost and expense. Furthermore, the Plaintiff respectfully requests

that she be awarded her unpaid royalties, compensatory damages and losses, costs, interest,

multiple and/or punitive damages, reasonable attorneys’ fees, and any such other relief as this

Honorable Court deems just and appropriate

                                    V. CAUSES OF ACTION

   COUNT I – COPYRIGHT INFRINGEMENT (17 U.S.C. §§ 101, et seq., as amended)
                  (solely as to Defendants Ceaco and Glazer)

       82.     The Plaintiff realleges and restates Paragraphs 1 through 81 of the Complaint

above, and the Exhibits attached hereto, and incorporates them herein by reference.

       83.     As all times relevant herein, the Plaintiff has owned and has had exclusive rights

and privileges in certain copyrights as to Puzzlestix and the Puzzle Creations.

       84.     At all times relevant herein, the Plaintiff has been, and remains, the sole and

exclusive owner of all right, title and interest in and to all copyrights in Puzzlestix and the Puzzle

Creations.

       85.     At all times relevant herein, the Plaintiff has not authorized, and has never

authorized, the Defendants to duplicate, copy, modify, or make derivative and/or subsidiary

works from Puzzlestix and/or any of her Puzzle Creations.




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       86.     Upon information and belief and at all times relevant herein, Defendants Ceaco

and Glazer have duplicated, copied and made, and/or have caused to be duplicated, copied and

made, derivative and/or subsidiary works of the Plaintiff’s copyrighted puzzles and puzzle

products, including but not limited to Puzzlestix and/or the Puzzle Creations.

       87.     Upon information and belief and at all times relevant herein, Defendants Ceaco

and Glazer have manufactured, published, distributed and sold, and/or have caused to be

manufactured, published, distributed and sold, duplicates and copies of the Plaintiff’s

copyrighted puzzles and puzzle products, including but not limited to Puzzlestix and/or the

Puzzle Creations.

       88.     By the virtue of the copyright infringement and violations of the Copyright Act of

1976, as amended (17 U.S.C. §§ 101, et seq., as amended), and the violative acts, policies,

practices and conduct of Defendants Ceaco and Glazer and at all times relevant herein,

Defendant Ceaco and Glazer have violated her copyrights in her puzzles and puzzle products,

including but not limited to Puzzlestix and/or the Puzzle Creations.

       89.     By the virtue of the copyright infringement and violations of the Copyright Act of

1976, as amended (17 U.S.C. §§ 101, et seq., as amended), and conduct of Defendants Ceaco

and Glazer and at all times relevant herein, the Plaintiff has no adequate remedy at law for the

wrongful conduct of Defendants Ceaco and Glazer in that: (i) her copyrighted products are

unique invaluable property which have no readily determinable market value; (ii) the

Defendants’ copyright infringement constitutes an interference with the Plaintiff’s goodwill,

business reputation and relationships; and (iii) the Defendants’ wrongful conduct, and the

damages resultant to the Plaintiff therefrom, have occurred at all times relevant herein, have

continued and/or are continuing.




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       90.     By the virtue of the copyright infringement and violations of the Copyright Act of

1976, as amended (17 U.S.C. §§ 101, et seq., as amended), and violative acts, policies, practices

and conduct of Defendants Ceaco and Glazer and at all times relevant herein, the Plaintiff is

entitled to, and/or may seek and obtain, temporary, preliminary, and permanent injunctive relief

pursuant to 17 U.S.C. § 502, as amended, and to an Order under 17 U.S.C. § 503, as amended,

that the infringing products be impounded and destroyed.

       91.     By the virtue of the copyright infringement and violations of the Copyright Act of

1976, as amended (17 U.S.C. §§ 101, et seq., as amended), and violative acts, policies, practices

and conduct of Defendants Ceaco and Glazer and at all times relevant herein, the Plaintiff is

entitled to recover actual damages and profits in an amount to be determined at trial (17 U.S.C

§ 504(b), as amended) or statutory damages (17 U.S.C. § 504(c), as amended), as well as her

attorneys’ fees and costs of suit (17 U.S.C. § 505, as amended).

       92.     As a direct and proximate cause of the copyright infringement and violations of

the Copyright Act of 1976, as amended (17 U.S.C. §§ 101, et seq., as amended), and violative

acts, policies, practices and conduct of Defendants Ceaco and Glazer and at all times relevant

herein, the Plaintiff has suffered, and will continue to suffer, losses, damages and harm, and

general, special and consequential damages, including but not limited to loss of revenues, profits,

benefits, business opportunities and reputation, and other damages, injuries and losses, and lost

economic opportunity, together with substantial and irreparable damage to her business

reputation and goodwill, as well as a diversion of trade and loss of profits, in an amount not yet

ascertained, to her detriment and which resulted in the unjust enrichment of the Defendants.




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  COUNT II – TRADEMARK INFRINGEMENT (15 U.S.C. §§ 1125, et seq., as amended)
                  (solely as to Defendants Ceaco and Glazer)

       93.     The Plaintiff realleges and restates Paragraphs 1 through 92 of the Complaint

above, and the Exhibits attached hereto, and incorporates them herein by reference.

       94.     Pursuant to federal law, a trademark is any word, term, name, symbol, or device,

or any combination thereof that, when used on or in connection with the goods or services of a

person, identifies a unique source of said goods.

       95.     Pursuant to federal law, trademarks serve the unique purpose of identifying for

consumers the source of a product or service, and may include colors, shapes, sounds, scents, and

moving images, and/or combinations thereof.

       96.     As all times relevant herein, the Plaintiff has owned and has had exclusive rights

and privileges in and to certain trademarks, including but not limited to all of the words, terms,

names, symbols and devices embodied by Puzzlestix and/or the Puzzle Creations.

       97.     At all times relevant herein, the Plaintiff has been, and remains, the sole and

exclusive owner of all right, title and interest in and to certain trademarks, including but not

limited to all of the words, terms, names, symbols and devices embodied by Puzzlestix and/or the

Puzzle Creations.

       98.     At all times relevant herein, the look and design of the puzzles, facets and features

of Puzzlestix and/or the Puzzle Creations, the Plaintiff’s unique puzzles and puzzler products are

distinctive symbols or devices owned exclusively and, which identifies, the Plaintiff as the

source of the puzzle or puzzle product, and is her trademark.

       99.     By virtue of the reputation and success of the Plaintiff’s puzzles and puzzle

products, including but not limited to Puzzlestix and/or the Puzzle Creations, including all of the




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words, terms, names, symbols, devices and trademarks which are distinctive features of such

puzzles and puzzle products, now represent valuable goodwill which is owned by the Plaintiff.

       100.    At all times relevant herein, Puzzlestix and/or the Puzzle Creations, including but

not limited to all of the words, terms, names, symbols and devices embodied thereby, have met

with success in the puzzle and puzzle products industry.

       101.    At all times relevant herein, the Plaintiff has not authorized, and has never

authorized, the Defendants to duplicate, copy, modify, or make derivative and/or subsidiary

works from Puzzlestix and/or any of her Puzzle Creations.

       102.    Upon information and belief and at all times relevant herein, Defendants Ceaco

and Glazer have duplicated, copied and made, and/or have caused to be duplicated, copied and

made, derivative and/or subsidiary works of the Plaintiff’s trademarks in her puzzles and puzzle

products, including but not limited to Puzzlestix and/or the Puzzle Creations.

       103.    Upon information and belief and at all times relevant herein, Defendants Ceaco

and Glazer have manufactured, published, distributed and sold, and/or have caused to be

manufactured, published, distributed and sold, duplicates and copies of the Plaintiff’s trademarks

in her puzzles and puzzle products, including but not limited to Puzzlestix and/or the Puzzle

Creations.

       104.    By the virtue of the trademark infringement and violations of the Lanham Act, as

amended (15 U.S.C. §§ 1125, et seq., as amended), and violative acts, policies, practices and

conduct of Defendants Ceaco and Glazer and at all times relevant herein, Defendant Ceaco and

Glazer have violated her trademarks in her puzzles and puzzle products, including but not limited

to Puzzlestix and/or the Puzzle Creations.




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       105.    By the virtue of the trademark infringement and violations of the Lanham Act, as

amended (15 U.S.C. §§ 1125, et seq., as amended), and violative acts, policies, practices and

conduct of Defendants Ceaco and Glazer and at all times relevant herein, the Plaintiff has no

adequate remedy at law for the wrongful conduct of Defendants Ceaco and Glazer in that: (i) her

trademarks are unique invaluable property which have no readily determinable market value;

(ii) the Defendants’ trademark infringement constitutes an interference with the Plaintiff’s

goodwill, business reputation and relationships; and (iii) the Defendants’ wrongful conduct, and

the damages resultant to the Plaintiff therefrom, have occurred at all times relevant herein, have

continued and/or are continuing.

       106.    By the virtue of their trademark infringement and violations of the Lanham Act,

as amended (15 U.S.C. §§ 1125, et seq., as amended), and violative acts, policies, practices and

conduct of Defendants Ceaco and Glazer and at all times relevant herein, the puzzle and puzzle

products of Defendants Ceaco and Glazer were duplicated from the Plaintiff’s unique puzzles

and puzzle products, including but not limited to Puzzlestix and/or the Puzzle Creations, with full

knowledge that the same was used for the purpose of misleading and confusing the public.

       107.    By the virtue of their trademark infringement and violations of the Lanham Act,

as amended (15 U.S.C. §§ 1125, et seq., as amended), and violative acts, policies, practices and

conduct of Defendants Ceaco and Glazer and at all times relevant herein, Defendants Ceaco’s

and Glazer’s use of the Plaintiff’s unique puzzle and puzzle products, including but not limited to

Puzzlestix and/or the Puzzle Creations, constitutes a false attribution and is likely to cause

confusion, or to cause mistake, or to deceive as to the affiliation, connection or association of

Defendant with the Plaintiff, or to deceive consumers as to the origin, sponsorship or approval of

the Defendants’ puzzles and/or puzzle products in that purchasers and others are likely to believe




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that the Defendants’ puzzles and/or puzzle products are somehow sponsored, approved or

otherwise legitimately connected with the Plaintiff.

       108.    By the virtue of their trademark infringement and violations of the Lanham Act,

as amended (15 U.S.C. §§ 1125, et seq., as amended), and violative acts, policies, practices and

conduct of Defendants Ceaco and Glazer and at all times relevant herein, Defendants Ceaco’s

and Glazer’s use of the Plaintiff’s unique puzzle and puzzle products, including but not limited to

Puzzlestix and/or the Puzzle Creations, misrepresents the nature, characteristics and qualities of

the Defendants’ puzzles and/or puzzle products and purchasers and others will believe that the

Defendants’ puzzles and/or puzzle products were created by the Plaintiff.

       109.    Such likelihood of confusion and misrepresentations of the Defendants’ puzzles

and/or puzzle products constitute use of a false designation of origin, false or misleading

descriptions of fact or false or misleading representations of fact, and false attribution, all in

violation of Section 43(a) of the Lanham Act, as amended (15 U.S.C. § 1125(a), as amended).

       110.    By the virtue of the trademark infringement and violations of the Lanham Act, as

amended (15 U.S.C. §§ 1125, et seq., as amended), and violative acts, policies, practices and

conduct of Defendants Ceaco and Glazer and at all times relevant herein, the Plaintiff is entitled

to, and/or may seek and obtain, temporary, preliminary, and permanent injunctive relief, and an

Order that the infringing products be impounded and destroyed pursuant to 15 U.S.C. § 1125, as

amended.

       111.    By the virtue of the trademark infringement and violations of the Lanham Act, as

amended (15 U.S.C. §§ 1125, et seq., as amended), and violative acts, policies, practices and

conduct of Defendants Ceaco and Glazer and at all times relevant herein, the Plaintiff is entitled




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to recover actual damages and profits in an amount to be determined at trial, as well as her

attorneys’ fees and costs of suit.

        112.     As a direct and proximate cause of the trademark infringement and violations of

the Lanham Act, as amended (15 U.S.C. §§ 1125, et seq., as amended), and violative acts,

policies, practices and conduct of Defendants Ceaco and Glazer and at all times relevant herein,

the Plaintiff has suffered, and will continue to suffer, losses, damages and harm, and general,

special and consequential damages, including but not limited to loss of revenues, profits, benefits,

business opportunities and reputation, and other damages, injuries and losses, and lost economic

opportunity, together with substantial and irreparable damage to her business reputation and

goodwill, as well as a diversion of trade and loss of profits, in an amount not yet ascertained, to

her detriment and which resulted in the unjust enrichment of the Defendants.

                            COUNT III – BREACH OF CONTRACT
                                   (as to all Defendants)

        113.     The Plaintiff realleges and restates Paragraphs 1 through 112 of the Complaint

above, and the Exhibits attached hereto, and incorporates them herein by reference.

        114.     The Plaintiff and the Defendants entered into a valid and enforceable contract, as

amended.

        115.     Under such Contract, the Plaintiff granted Defendant Ceaco and Glazer a license

“to manufacture and sell” the Products, “created in any medium and sold for any use,” in “any

manner,” on a worldwide basis

        116.     Pursuant to the Contract, “all copyright, patent, trademark” rights, in the

“manufacture, sale or use of any [Product],” remained as “sole and exclusive property” of the

Plaintiff.




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       117.    Under the Contract, Defendants Ceaco and Glazer had a duty and obligation “to

secure” in the name of the Plaintiff and on her behalf, “all copyright, patent, trademark … or the

like, applications and registrations, to be used in the manufacture, sale or use of any” Puzzle

Creation, which shall be the Plaintiff’s “sole and exclusive property.”

       118.    Under the Contract, Defendants Ceaco and Glazer were required to place the

Legend, identifying such Puzzle Creation as “A Sandy Beram Creation.”

       119.    Under the Contract, the Legend was required to be “in form, style and placement

reasonably satisfactory to” the Plaintiff and appear on the “front or side of the packaging for each

item” of the Puzzle Creations.

       120.    Under the Contract, “a comparable legend” was required to “appear on or in

connection with each subsidiary rights or derivative products.”

       121.    Pursuant to Section 3(a) of the Contract, the Defendants agreed to pay royalties

and/or the Minimum Royalty Payments to the Plaintiff “within thirty days following the end of

each calendar quarter, such quarters ending March 31, June 30, September 30 and December

31.”

       122.    Pursuant to Section 3(c) of the Contract, the Defendants agreed that “interest …

[would] accrue on all past due, and underpayment of Royalty Payments and other amounts

payable … from their respective due dates until paid at the ‘Default Rate’ and [would] … be

payable upon demand.”

       123.    Pursuant to Section 3(c) of the Contract, the Defendants agreed that “[a]s used in

… [the Contract], the term Default Rate [would] … mean on any date of determination the lesser

of (i) the sum of (x) 5% plus (y) the prime rate (or comparable rate) announced, from time to

time, by Citibank, N.A., and (ii) the highest rate permitted by applicable law.”




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        124.    Pursuant to Section 4 of the Contract, the Defendants agreed to keep “true,

accurate and sufficiently detailed books of account and records in accordance with generally

accepted accounting principles, consistently applied, covering all transactions” relating to the

Puzzle Creations and the Plaintiff.

        125.    Pursuant to Section 5 of the Contract, the Defendants agreed to deliver the

Reports and provide the accounting, after the end of each calendar quarter during the term of the

Contract, which would “indicat[e] … the computation of Royalty Payments and other payment

for such quarter.”

        126.    Under the Contract, the Defendants agreed that such Reports were, and are,

required to be “accompanied by a statement” of the Defendants’ “responsible and authorized

executive officer” who would “certify” that such officer “reviewed” such Reports and had

“determined” them to be “true, correct and complete as of such dates.”

        127.    Pursuant to Section 16 of the Contract, the Defendants agreed that the Contract

would “remain in full force and effect from the date … [of execution] until the date one hundred

years following the death of Sandy Beram, unless earlier terminated….”

        128.    The Contract is in full force and effect at the present time.

        129.    The Defendants have refused and have failed to pay, inter alia, royalties,

Minimum Royalties, late fees, and accrued interest, to the Plaintiff, in accordance with the terms

of the Contract.

        130.    The Defendants have refused and have failed to secure the copyrights, trademarks

and/or the intellectual property rights of the Plaintiff.




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        131.     The Defendants have refused and have failed to place the Legend on the Puzzle

Creations, as manufactured, marketed, distributed and sold, in the Commonwealth of

Massachusetts, the State of New York, the United States and internationally.

        132.     The Defendants have refused and have failed to account for sales, royalties and

other financial and operational matters relating to the Puzzle Creations and the Plaintiff.

        133.     The Defendants have refused and have failed to provide the Reports, accompanied

by a statement and certified by a responsible and authorized executive officer.

        134.     The Defendants have refused and have failed to provide an accounting, consistent

with generally accepted accounting principles, or GAAP, as to, inter alia, the sales of the Puzzle

Creations, the royalties due and owing thereon, and the financial terms of the Contract between

and among the Parties.

        135.     The Defendants, by their conduct as described herein, breached the Contract with

the Plaintiff.

        136.     As a direct and proximate cause of the breaches of the Contract and violative acts,

policies, practices and conduct of the Defendants and at all times relevant herein, the Plaintiff

has suffered, and will continue to suffer, losses, damages and harm, and general, special and

consequential damages, including but not limited to loss of revenues, profits, benefits, business

opportunities and reputation, and other damages, injuries and losses, and lost economic

opportunity, together with substantial and irreparable damage to her business reputation and

goodwill, as well as a diversion of trade and loss of profits, in an amount not yet ascertained, to

her detriment and which resulted in the unjust enrichment of the Defendants.




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                      COUNT IV – BREACH OF IMPLED COVENANT
                         OF GOOD FAITH AND FAIR DEALING
                                  (as to all Defendants)

       137.    The Plaintiff realleges and restates Paragraphs 1 through 136 of the Complaint

above, and the Exhibits attached hereto, and incorporates them herein by reference.

       138.    A covenant of good faith and fair dealing was implied and existed in the business

relationship between and among the Parties.

       139.    The Defendants' conduct, as set forth above, constitutes a material breach of their

duty to the Plaintiff of good faith and fair dealing.

       140.    As a direct and proximate cause of the breaches of the implied covenant of good

faith and fair dealing and violative acts, policies, practices and conduct of the Defendants and at

all times relevant herein, the Plaintiff has suffered, and will continue to suffer, losses, damages

and harm, and general, special and consequential damages, including but not limited to loss of

revenues, profits, benefits, business opportunities and reputation, and other damages, injuries and

losses, and lost economic opportunity, together with substantial and irreparable damage to her

business reputation and goodwill, as well as a diversion of trade and loss of profits, in an amount

not yet ascertained, to her detriment and which resulted in the unjust enrichment of the

Defendants.

                         COUNT V - ORAL CONTRACT -
                 PROMISSORY ESTOPPEL/DETRIMENTAL RELIANCE
                              (as to all Defendants)

       141.    The Plaintiff realleges and restates Paragraphs 1 through 140 of the Complaint

above, and the Exhibits attached hereto, and incorporates them herein by reference.




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       142.    By engaging in the conduct described herein, the Defendants breached their

promises and assurances to the Plaintiff, upon which the Plaintiff reasonably relied, to her

detriment.

       143.    By engaging in the conduct described herein, the Defendants are estopped from

denying their promises and assurances to the Plaintiff.

       144.    As a direct and proximate cause of the breaches of oral contract and promises, by

and through estoppel and detrimental reliance, and violative acts, policies, practices and conduct

of the Defendants and at all times relevant herein, the Plaintiff has suffered, and will continue to

suffer, losses, damages and harm, and general, special and consequential damages, including but

not limited to loss of revenues, profits, benefits, business opportunities and reputation, and other

damages, injuries and losses, and lost economic opportunity, together with substantial and

irreparable damage to her business reputation and goodwill, as well as a diversion of trade and

loss of profits, in an amount not yet ascertained, to her detriment and which resulted in the unjust

enrichment of the Defendants.

                            COUNT VI – UNJUST ENRICHMENT
                          (solely as to Defendants Ceaco and Glazer)

       145.    The Plaintiff realleges and restates Paragraphs 1 through 144 of the Complaint

above, and the Exhibits attached hereto, and incorporates them herein by reference.

       146.    Defendants     Ceaco     and   Glazer      illegally   and   improperly    converted,

misappropriated, used, interfered with and obtained benefits from the copyrights, trademarks and

the intellectual property of the Plaintiff, including but not limited to Puzzlestix and/or the Puzzle

Creations.




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       147.    Defendants Ceaco and Glazer improperly and illegally manufactured, marketed,

distributed and sold Puzzlestix and/or the Puzzle Creations, without any payment of royalties or

making Minimum Royalty Payments, late fees and/or accrued interest to the Plaintiff.

       148.    The actions, courses of conduct and omissions of Defendants Ceaco and Glazer

were wantonly, intentionally and maliciously conducted against the Plaintiff, to her detriment.

       149.    Defendants Ceaco and Glazer have been unjustly enriched by their actions, as

described herein.

       150.    As a direct and proximate cause of the unjust enrichment and violative acts,

policies, practices and conduct of Defendants Ceaco and Glazer and at all times relevant herein,

the Plaintiff has suffered, and will continue to suffer, losses, damages and harm, and general,

special and consequential damages, including but not limited to loss of revenues, profits, benefits,

business opportunities and reputation, and other damages, injuries and losses, and lost economic

opportunity, together with substantial and irreparable damage to her business reputation and

goodwill, as well as a diversion of trade and loss of profits, in an amount not yet ascertained, to

her detriment and which resulted in the unjust enrichment of the Defendants.

                                 COUNT VII – CONVERSION
                          (solely as to Defendants Ceaco and Glazer)

       151.    The Plaintiff realleges and restates Paragraphs 1 through 150 of the Complaint

above, and the Exhibits attached hereto, and incorporates them herein by reference.

       152.    Defendants Ceaco and Glazer, through their actions and omissions as described

herein, intentionally or wrongfully exercised, over the Plaintiff’s assets, copyrights, trademarks

and intellectual property, including but not limited to Puzzlestix and/or the Puzzle Creations, and

have continued to exercise, acts of ownership, control or dominion over such assets, copyrights,




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trademarks and intellectual property, including but not limited to Puzzlestix and/or the Puzzle

Creations, of the Plaintiff.

        153.    Defendants Ceaco and Glazer have had, and continue to have, no right of

possession, custody, control and/or dominion over the assets, copyrights, trademarks and

intellectual property, including but not limited to Puzzlestix and/or the Puzzle Creations, of the

Plaintiff, previously at the time of such ownership, custody, control and/or dominion, at the

current time, or at any time in the future.

        154.    As a result of the acts and omissions described herein, Defendants Ceaco and

Glazer have converted the assets, copyrights, trademarks and intellectual property, including but

not limited to Puzzlestix and/or the Puzzle Creations, of the Plaintiff.

        155.    As a direct and proximate cause of the conversion and violative acts, policies,

practices and conduct of Defendants Ceaco and Glazer and at all times relevant herein, the

Plaintiff has suffered, and will continue to suffer, losses, damages and harm, and general, special

and consequential damages, including but not limited to loss of revenues, profits, benefits,

business opportunities and reputation, and other damages, injuries and losses, and lost economic

opportunity, together with substantial and irreparable damage to her business reputation and

goodwill, as well as a diversion of trade and loss of profits, in an amount not yet ascertained, to

her detriment and which resulted in the unjust enrichment of the Defendants.

                             COUNT VIII – MISAPPROPRIATION
                           (solely as to Defendants Ceaco and Glazer)

        156.    The Plaintiff realleges and restates Paragraphs 1 through 155 of the Complaint

above, and the Exhibits attached hereto, and incorporates them herein by reference.




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       157.    By engaging in the conduct described herein, Defendants Ceaco and Glazer have

misappropriated the assets, copyrights, trademarks and intellectual property, including but not

limited to Puzzlestix and/or the Puzzle Creations, of the Plaintiff.

       158.    As a direct and proximate cause of the misappropriation and violative acts,

policies, practices and conduct of Defendants Ceaco and Glazer and at all times relevant herein,

the Plaintiff has suffered, and will continue to suffer, losses, damages and harm, and general,

special and consequential damages, including but not limited to loss of revenues, profits, benefits,

business opportunities and reputation, and other damages, injuries and losses, and lost economic

opportunity, together with substantial and irreparable damage to her business reputation and

goodwill, as well as a diversion of trade and loss of profits, in an amount not yet ascertained, to

her detriment and which resulted in the unjust enrichment of the Defendants.

                              COUNT IX - FRAUD AND DECEIT
                                   (as to all Defendants)

       159.    The Plaintiff realleges and restates Paragraphs 1 through 158 of the Complaint

above, and the Exhibits attached hereto, and incorporates them herein by reference.

       160.    The actions of the Defendants described herein constitute fraud and deceit in that,

without limitation:

               a)      the Defendants made numerous misrepresentations and omissions of

               material fact to the Plaintiff, knowingly or with reckless disregard as to whether

               they were true or false;

               b)      the Defendants made said misrepresentations and omissions for the

               purpose of inducing reliance from the Plaintiff; and

               c)      the Plaintiff did rely upon said misrepresentations and omissions, to her

               detriment.



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       161.   As a direct and proximate cause of the fraud and deceit and violative acts, policies,

practices and conduct of the Defendants and at all times relevant herein, the Plaintiff has suffered,

and will continue to suffer, losses, damages and harm, and general, special and consequential

damages, including but not limited to loss of revenues, profits, benefits, business opportunities

and reputation, and other damages, injuries and losses, and lost economic opportunity, together

with substantial and irreparable damage to her business reputation and goodwill, as well as a

diversion of trade and loss of profits, in an amount not yet ascertained, to her detriment and

which resulted in the unjust enrichment of the Defendants.

                    COUNT X - NEGLIGENT MISREPRESENTATION
                                (as to all Defendants)

       162.    The Plaintiff realleges and restates Paragraphs 1 through 161 of the Complaint

above, and the Exhibits attached hereto, and incorporates them herein by reference.

       163.    The conduct of the Defendants as described herein constitutes negligent

misrepresentation in that the Defendants negligently provided the Plaintiff with erroneous and

misleading information regarding the Contract, Puzzlestix, the Puzzle Creations, the sales,

royalties, books and records, as well as other relevant documents and information thereon, and

upon which the Plaintiff relied, to her detriment.

       164.    As a direct and proximate cause of the negligent misrepresentation and violative

acts, policies, practices and conduct of the Defendants and at all times relevant herein, the

Plaintiff has suffered, and will continue to suffer, losses, damages and harm, and general, special

and consequential damages, including but not limited to loss of revenues, profits, benefits,

business opportunities and reputation, and other damages, injuries and losses, and lost economic

opportunity, together with substantial and irreparable damage to her business reputation and




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goodwill, as well as a diversion of trade and loss of profits, in an amount not yet ascertained, to

her detriment and which resulted in the unjust enrichment of the Defendants.

                        COUNT XI - FRAUDULENT TRANSFER /
                      FRAUDULENT CONVEYANCE - M.G.L. c. 109A
                                (as to all Defendants)

        165.    The Plaintiff realleges and restates Paragraphs 1 through 164 of the Complaint

above, and the Exhibits attached hereto, and incorporates them herein by reference.

        166.    Upon information and belief, the Defendants, together with others, combined,

conspired, acted in concert, and/or have organized, operated and/or utilized multiple entities,

including not less than two (2) domestic Massachusetts for-profit corporations, one (1)

Massachusetts Business Trust, and one (1) limited liability company identified as “Ceaco,”

together with one (1) “division” identified as “Brainwright,” in order to fraudulently conceal

and/or fraudulently transfer and/or convey property, assets and/or liabilities between and among

such entities and/or the Defendants.

        167.    Upon information and belief, the Defendants paid and/or provided inadequate

consideration and/or less than “fair value,” “fair market value,” and/or “reasonably equivalent

value” in their actions and omissions to assign, convey and/or transfer such property, assets

and/or liabilities.

        168.    Upon information and belief, by assigning, conveying and/or transferring and

seeking to conceal their property and assets, the Defendants intended to assign, convey, and/or

transfer such property, assets and/or liabilities in order that the same would be beyond the reach

of creditors, including but not limited to the Plaintiff, and/or others.

        169.    Upon information and belief, the Defendants, together with others, combined,

conspired, acted in concert, and/or engaged in a conspiracy by transferring, assigning, conveying,




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distributing, and/or moving such property and assets between and among the Defendants and/or

others, with the intent to delay, hinder, and defraud creditors, including but not limited to the

Plaintiff.

        170.     Upon information and belief, the conduct of Defendants, as described herein,

constitutes fraudulent transfer and/or fraudulent conveyance under M.G.L. c. 109A.

        171.     As a direct and proximate cause of the fraudulent transfer and/or fraudulent

conveyance and violations of the Uniform Fraudulent Transfer Act, M.G.L. c.109A, as amended,

and violative acts, policies, practices and conduct of the Defendants and at all times relevant

herein, the Plaintiff has suffered, and will continue to suffer, losses, damages and harm, and

general, special and consequential damages, including but not limited to loss of revenues, profits,

benefits, business opportunities and reputation, and other damages, injuries and losses, and lost

economic opportunity, together with substantial and irreparable damage to her business

reputation and goodwill, as well as a diversion of trade and loss of profits, in an amount not yet

ascertained, to her detriment and which resulted in the unjust enrichment of the Defendants.

                          COUNT XII -VIOLATIONS OF
                  CONSUMER PROTECTION ACT/M.G.L. c.93A, §§ 2 & 11
                              (as to all Defendants)

        172.     The Plaintiff realleges and restates Paragraphs 1 through 171 of the Complaint

above, and the Exhibits attached hereto, and incorporates them herein by reference.

        173.     At all relevant times herein, the Defendants conducted a trade or business, as

defined by the Massachusetts Consumer Protection Act, M.G.L. c. 93A, within the

Commonwealth of Massachusetts.

        174.     The conduct of the Defendants as described herein constitutes unfair and

deceptive and anti-competitive trade practices, under Sections 2 and 11 of the Consumer




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Protection Act, in that the Defendants:

               a)      falsely entered into a Contract and business arrangement with the Plaintiff,

               without any intention of performing the same;

               b)      perpetrated a fraud and deceit, seeking and attempting to cause, willfully,

               maliciously, and/or recklessly, the harm to the Plaintiff;

               c)      fraudulently concealed their actions, omissions and courses of conduct

               from the Plaintiff;

               d)      fraudulently induced the Plaintiff to rely, to her detriment, on the business

               relationship with the Defendants, causing damages and harm to the Plaintiff;

               e)      fraudulently induced the Plaintiff to enter into amendments of the

               Contracts for additional puzzles, puzzle products and Creations without any

               intention of performing in accordance with the Contract, thereby causing the

               Plaintiff to forego other business opportunities;

               f)      misused their position to exert greater economic power in unfair,

               deceptive and anti-competitive ways, to the detriment of the Plaintiff;

               g)      refused to honor the promises and terms of the business dealings with the

               Plaintiff;

               h)      refused to create and provide Reports, accompanied by statements of the

               Defendants’ responsible and authorized executive officers, that certified the be

               true, correct and complete financial information provided to the Plaintiff as to the

               Puzzle Creations;

               i)      refused to maintain their books and records in a manner consistent with

               GAAP, and/or account to the Plaintiff as to sales, royalties, Minimum Royalty




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               Payments, late fees, accrued interest and/or otherwise, as to the Puzzle Creations;

               and/or

               j)       provided the Plaintiff with false and misleading information, which she

               relied upon, to her detriment.

       175.    The false statements made were in breach of the Defendants’ duty to exercise due

care to reasonably determine that the statements made were true and accurate at the time they

were made, and that true and accurate statements were made to the Plaintiff regarding her

dealings with the Defendants.

       176.    As a direct and proximate cause of the unfair and deceptive trade acts and

practices, and the unfair competition and violations of the Massachusetts Consumer Protection

Act, M.G.L. c.93A, §§ 2 & 11, as amended, and violative acts, policies, practices and conduct of

the Defendants and at all times relevant herein, the Plaintiff has suffered, and will continue to

suffer, losses, damages and harm, and general, special and consequential damages, including but

not limited to loss of revenues, profits, benefits, business opportunities and reputation, and other

damages, injuries and losses, and lost economic opportunity, together with substantial and

irreparable damage to her business reputation and goodwill, as well as a diversion of trade and

loss of profits, in an amount not yet ascertained, to her detriment and which resulted in the unjust

enrichment of the Defendants.

                             COUNT XIII - CIVIL CONSPIRACY
                                   (as to all Defendants)

       177.    The Plaintiff realleges and restates Paragraphs 1 through 176 of the Complaint

above, and the Exhibits attached hereto, and incorporates them herein by reference.

       178.    The Defendants, together with others, including but not limited to entities and

persons engaged by and/or employed by, representatives of and/or agents of, and/or associated



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with the Defendants and others, combined, conspired, acted in concert, and/or engaged in a

conspiracy by entering into an agreement with unlawful motives and/or means, and undertook

overt acts towards the ends of such conspiracy.

       179.    In order to attain the outcome of its conspiracy, the Defendants required

coordination and actions to be taken in unison and/or in concert, together with joint tortious

activity of the other co-conspirators, including but not limited to entities and persons engaged by

and/or employed by, representatives of and/or agents of, and/or associated with the Defendants

and others.

       180.    The Defendants had the particular power and/or authority at their business to

force, coerce, and/or encourage others, including but not limited to entities and/or persons

employed by, agent(s) of, and/or associated with the Defendants and others, to participate in this

conspiracy and result in the fraudulent concealment of documents and information, and by

dissemination of false and fraudulent documents and information.

       181.   As a direct and proximate cause of the civil conspiracy and violative acts, policies,

practices and conduct of the Defendants and at all times relevant herein, the Plaintiff has suffered,

and will continue to suffer, losses, damages and harm, and general, special and consequential

damages, including but not limited to loss of revenues, profits, benefits, business opportunities

and reputation, and other damages, injuries and losses, and lost economic opportunity, together

with substantial and irreparable damage to her business reputation and goodwill, as well as a

diversion of trade and loss of profits, in an amount not yet ascertained, to her detriment and

which resulted in the unjust enrichment of the Defendants.




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                                  COUNT XIV - ACCOUNTING
                                     (as to all Defendants)

       182.    The Plaintiff realleges and restates Paragraphs 1 through 181 of the Complaint

above, and the Exhibits attached hereto, and incorporates them herein by reference.

       183.    Under the Contract, the Defendants have a duty to provide Reports, accompanied

by statements, as certified by a responsible and authorized executive officer of Defendant Ceaco

as to the sales, royalties due, Minimum Royalty Payments, late fees, accrued interest and/or other

operational and financial matters as to the Puzzle Creations and as relating to the business

arrangement with the Plaintiff.

       184.    Under the Contract, the Defendants have a duty to render an accounting to the

Plaintiff, in a manner consistent with and in accordance with, generally accepted accounting

principles, or GAAP.

       185.    The Defendants have refused, and have failed, to provide Reports, statements and

certifications as to operational and financial matters as to the Creations and as relating to the

business arrangement with the Plaintiff.

       186.    The Defendants have refused, and have failed, to render an accounting to the

Plaintiff, in a manner consistent with and in accordance with, generally accepted accounting

principles, or GAAP, or in any manner whatsoever.

       187.    As a direct and proximate cause of the Defendants’ refusal and failure to provide

Reports, statements and certifications, and refusal and failure to render an accounting to the

Plaintiff, in a manner consistent with and in accordance with, generally accepted accounting

principles, or GAAP, or in any manner whatsoever, and violative acts, policies, practices and

conduct of the Defendants and at all times relevant herein, the Plaintiff has suffered, and will

continue to suffer, losses, damages and harm, and general, special and consequential damages,



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including but not limited to loss of revenues, profits, benefits, business opportunities and

reputation, and other damages, injuries and losses, and lost economic opportunity, together with

substantial and irreparable damage to her business reputation and goodwill, as well as a diversion

of trade and loss of profits, in an amount not yet ascertained, to her detriment and which resulted

in the unjust enrichment of the Defendants.

                                 VI. REQUESTS FOR RELIEF

       WHEREFORE, the Plaintiff respectfully requests that this Honorable Court grant her the

following relief:

               A)      determine and award the Plaintiff her actual losses, together with her

               general, special and compensatory damages, including but not limited to royalties,

               Minimum Royalty Payments, late fees, accrued interest, and other damages, and

               as sustained by her as a result of the Defendants’ violations of law, jointly and/or

               severally, as set out herein;

               B)      determine and award the Plaintiff her actual losses, together with her

               general, special and compensatory damages, including but not limited to royalties,

               Minimum Royalty Payments, late fees, accrued interest, and other damages, and

               as sustained by her as a result of the Defendants’ copyright infringement

               violations of The Copyright Act of 1976, as amended, 17 U.S.C. §§ 101, et seq.,

               as amended, of the Defendants, jointly and/or severally, as set out herein;

               C)      determine and award the Plaintiff her actual losses, together with her

               general, special and compensatory damages, including but not limited to royalties,

               Minimum Royalty Payments, late fees, accrued interest, and other damages, and

               as sustained by her as a result of the Defendants’ trademark infringement and




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    unfair competition, as violations of The Lanham (Trademark) Act, as amended,

    15 U.S.C. §§ 1125, et seq., as amended, of the Defendants, jointly and/or

    severally, as set out herein;

    D)      determine and award the Plaintiff her actual losses, together with her

    general, special and compensatory damages, including but not limited to royalties,

    Minimum Royalty Payments, late fees, accrued interest, and other damages, and

    as sustained by her as a result of the Defendants’ unfair and deceptive trade

    practices, and unfair competition, as violations of the Massachusetts Consumer

    Protection Act, as amended, M.G.L. c. 93A, §§ 2 & 11, as amended, of the

    Defendants, jointly and/or severally, as set out herein;

    E)      determine and award the Plaintiff her actual losses, together with her

    general, special and compensatory damages, including but not limited to royalties,

    Minimum Royalty Payments, late fees, accrued interest, and other damages, and

    as a result of the Defendants’ violations of the Massachusetts Uniform Fraudulent

    Transfer Act, under M.G.L. c.109A, of the Defendants, jointly and/or severally, as

    set out herein;

    F)      determine and award the Plaintiff her actual losses, together with her

    general, special and compensatory damages, including but not limited to royalties,

    Minimum Royalty Payments, late fees, accrued interest, and other damages, and

    as a result of the Defendants’ breaches of such causes of action, set forth herein,

    including but not limited to: i) breach of contract; ii) breach of the covenant of

    good faith and fair dealing; iii) breach of oral contract / promissory estoppel /

    detrimental reliance; iv) unjust enrichment; v) conversion; vi) misappropriation;




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    vii) fraud and deceit; viii) negligent misrepresentation; ix) civil conspiracy; and/

    or x) accounting, of the Defendants, jointly and/or severally, as set out herein;

    G)      determine and award the Plaintiff the amount of the Defendants’ unjust

    enrichment, conversion and misappropriation resulting from their violations of

    law, as set out above;

    H)      award the Plaintiff her costs in bringing this action, including the filing

    fees, expert and witness fees, costs and expenses, and reasonable attorneys' fees;

    I)      award the Plaintiff multiple or punitive damages in an amount to be

    determined; and/or

    J)      determine that the Defendants’ violations, as set out above, are willful,

    malicious and wanton, and award the Plaintiff multiple, double or treble damages,

    interest, costs and attorneys' fees, in an amount to be determined;

    K)      determine and order that the Defendants fraudulently concealed their

    infringement, unfair, deceptive, anti-competitive and illegal actions, thereby

    causing the statute of limitations to be tolled pursuant to M.G.L. c. 260, § 12, as

    amended;

    L)      grant and order an accounting, by a Big Four public accounting firm, in a

    manner consistent with, and in accordance with, generally accepted accounting

    principles, or GAAP;

    M)      grant, order and appoint a receiver to assume control of the operations,

    finances, and/or any and all other matters as to Defendant Ceaco, divisions,

    subsidiaries, parents, and/or affiliates;




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    N)     grant and order that the Defendants secure the patent rights related to

    Puzzlestix and each and every Puzzle Creation, and to challenge any pending

    patent application by Manvel and/or Sarkis Simonyan, and/or any third-party, at

    the Defendants’ sole cost and expense;

    O)     grant and order that the Defendants impound and/or destroy any and all

    puzzles and/or puzzle products, as manufactured, marketed, distributed and/or

    sold by the Defendants, which are determined to infringe upon the Plaintiff’s

    copyrights, trademarks, proprietary rights and/or intellectual property;

    P)     determine and award the Plaintiff declaratory relief and judgment that, for

    the remaining term of the Contract, the Defendants are ordered to pay all future

    royalties, Minimum Royalties, late fees and accrued interest, and maintain true,

    accurate and sufficiently detailed books of account and records in accordance

    with generally accepted accounting principles, or GAAP, consistently applied,

    covering all transactions” relating to the Puzzle Creations, and provide and deliver

    Reports, by statements, certified by a responsible and authorized executive officer

    of the Defendants, that such Reports are true, correct and complete;

    Q)     grant, order, restrain and enjoin the Defendants, temporarily, preliminarily

    and permanently, and grant the Plaintiffs such equitable relief, as may be just and

    proper; and/or




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             R)    any additional relief which this Honorable Court deems just and proper.




  THE PLAINTIFF DEMANDS A TRIAL BY JURY ON ALL COUNTS SO TRIABLE.




                                 Respectfully Submitted,
                                 PLAINTIFF, Sandy Beram

                                 By her Attorneys,



                                    /s/ Philip M. Giordano_________________
                                 Philip M. Giordano, Esq. (BBO No. 193530)
                                 Giordano & Company, P.C.
                                 REED & GIORDANO, P.A.
                                 47 Winter Street, Suite 800
                                 Boston, Massachusetts 02108-4774
                                 Telephone: (617) 723-7755
                                 Facsimile: (617) 723-7756
Dated: March 23, 2016            Email: pgiordano@reedgiordano.com




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